       Case 3:12-cr-00012-SMR-SBJ Document 86 Filed 05/29/12 Page 1 of 1

                                                                                 RECEIVED
                        UNITED STATES DISTRICT COURT                                  MAY 2 9 2012
                         SOUTHERN DISTRICT OF IOWA
                                                                                CLERK U.S. DISTRICT COURT
                                                                                SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )
               vs.                            )      Case No. 3:12-cr-OOOI2
                                              )
JORGE CARRANGO-VALENCIA,                      )
                                              )
                      Defendant.              )


    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11 , Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count One of the Superseding Indictment. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I detennined that the

guilty plea was knowing and voluntary as to that count, and that the offense charged is supported by

an independent factual basis concerning each ofthe essential elements ofsuch offense. I, therefore,

recommend that the plea of guilty be accepted, that a pre-sentence investigation and report be

prepared, and that the Defendant be adjudged guilty and have sentence imposed accordingly.




Date                                                               IELDS
                                                                    S MAGISTRATE JUDGE


                                             NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date ofits service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(1 )(B).
